Case 2:04-CV-02996-BBD-STA Document 31 Filed 05/12/05 Page 1 of 2 Page|D 27

UNITED STA TES DIS TRICT coURT
WES TERN DIS TRICT OF TENNESSEE

 

WES TERN DIVISION
WENDOLYN C. PETTIES, JUDGMENT IN A CIVIL CASE
as administratrix of the estate of CASE NO: 04-2996-DA

EFFIE J. WOOTEN, deceased, and on
behalf of the wrongful death
beneficiaries of EFFIE J. WOOTEN

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'V.

KINDRED HEALTI-ICA.RE, INC. , d/b/ a

PRIMACY I-IEALTHCARE l1-\.1.\'|'D REHABILITATION

CENTER, K.INDRED HEALTHCA.RE SERVICES, INC.,

KINDRED HEALTHCARE OPERATING, INC. ,

KINDRED NURSING CENTERS LIMITED PARTNERSHIP,

GEORGE A. MUNCHOW, in his capacity as administrator
of Primacy Healthcare and Rehabilitation Center,

J. DAVID MARCHANT, in his capacity as administrator
of Primacy Healthcare and Rehabilitation Center, and
MELISA LUCINDA HALL, in her capacity as administrator
of Primacy Healthcare and Rehabilitation Center

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DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
Granting Plaintiff's Motion to Remand entered on April 26, 2005,
this cause is hereby dismissed.

APP ROVED :

    

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MM //, imm /

date 67 Clerk of Court

(By) Deputy Clérk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02996 Was distributed by faX, mail, or direct printing on
May 13, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

